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 7                                      UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF WASHINGTON
 8
 9      UNITED STATES OF AMERICA,

10                                                                      Case No. CR07-5656 JKA
                                      Plaintiff,
11                           v.
                                                                     Order Denying Plaintiff’s Motion
12      FRANKIE GONZALES, et al.,                                        for Reconsideration

13                                    Defendant.

14
15
                This matter comes before the court on Government’s Motion Seeking Reconsideration of Order
16
     Dismissing Count Three (Dkt#29). The court has considered plaintiff’s motion as well as the files and records
17
     herein.
18              CrR12(c)(11) Reconsideration of Motions.
19              (A). Standards. Motions for Reconsideration are disfavored. The court will ordinarily deny such
                motions in the absence of a showing of manifest error in the prior ruling or a showing of new facts or
20              legal authority which could not have been brought to its attention earlier with reasonable diligence . .
                ........
21              (C). Procedure. No response to a motion for reconsideration shall be filed unless requested by the
                court. No motion for reconsideration will be granted without such a request. . . . . . .
22
23              Having reviewed the motion for reconsideration the court finds no error in the prior ruling, nor is there
24 a showing of new facts or legal authorities which either were not or could not have been brought to its earlier
25 attention.
26              Accordingly, the government’s (plaintiff) motion for reconsideration is hereby denied.
27
28
                                                   March 27, 2008.

     ORDER
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 1                                       /s/ J. Kelley Arnold
                                         J. Kelley Arnold, U.S. Magistrate Judge
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     ORDER
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